
705 S.E.2d 384 (2011)
STATE of North Carolina
v.
Larry MACKEY.
No. 520P10.
Supreme Court of North Carolina.
January 5, 2011.
Marc Bernstein, Special Deputy Attorney General, for State of North Carolina.
Geoffrey W. Hosford, Wilmington, for Mackey, Larry.
Peter S. Gilchrist, III, District Attorney, for State.

ORDER
Upon consideration of the petition filed by State of NC on the 16th of December 2010 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed as Moot by order of the Court in conference, this the 5th of January 2011."
JACKSON, J., recused.
Upon consideration of the petition filed on the 16th of December 2010 by State of NC in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:

*385 Withdrawn by order 01 the Court in conference, this the 5th of January 2011."
JACKSON, J., recused.
